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                     7   ANTHONY THOMAS and WENDI
                         THOMAS and AT EMERALD, LLC
                     8
                     9                                     UNITED STATES BANKRUPTCY COURT
                 10                                                       DISTRICT OF NEVADA
                 11                                                                 —ooOoo—
                 12      In Re:                                                         Case No. BK-N-14-50333-BTB
                                                                                        Case No. BK-N-14-50331-BTB
                 13      ANTHONY THOMAS and
                         WENDI THOMAS,                                                  Chapter 11 Cases
                 14
                                                                                        [Jointly Administered]
                 15      AT EMERALD, LLC,
                                                                                        REPLY TO LIMITED OBJECTION TO
                 16                                                                     MOTION TO SELL ASSETS FREE
                                              Debtors,                                  AND CLEAR OF LIENS
                 17
                                                                                        Hearing Date: July 1, 2014
                 18      ______________________________/                                Hearing Time: 2:30 p.m.
                 19                Debtor, AT EMERALD, LLC, a Nevada limited liability company (hereinafter the
                 20      “Debtor”), by and through its undersigned counsel, Holly E. Estes, Esq., of the Law Offices
                 21      of Alan R. Smith, hereby files its reply to Limited Objection To Motion To Sell Assets Free
                 22      And Clear Of Liens [DE 101] (the “Opposition”). This reply is made and based upon the
                 23      following points and authorities.
                 24                                                  POINTS AND AUTHORITIES
                 25                1.         The Debtor, AT Emerald, LLC, filed its Motion To Sell Assets Free And Clear
                 26      Of Liens And Motion To File Purchase And Sale Agreement Under Seal [DE 83] (the “Sale
                 27      Motion”) on June 23, 2014.
                 28                2.         On March 4, 2014, Anthony Thomas and Wendi Thomas filed their bankruptcy
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                     1   petition.
                     2             3.         On June 12, 2014, Kenmark Ventures, LLC (“Kenmark”), filed a proof of
                     3   claim in the amount of $4,500,000.00 [Claim No. 7] in the Anthony Thomas and Wendi
                     4   Thomas bankruptcy case, case number BK-N-14-50333-BTB.
                     5             4.         On June 27, 2014, Kenmark filed its Opposition.
                     6             Kenmark is a creditor of Anthony and Wendi Thomas, and not a creditor of AT
                     7   Emerald. Kenmark has not established that it has standing to object to the Sale Motion.
                     8   Kenmark incorrectly states that it objects to the motion of “Anthony Thomas and Wendi
                     9   Thomas to sell assets free and clear of liens.” The Sale Motion was filed by AT Emerald,
                 10      LLC.
                 11                Further, Kenmark has failed to substantiate its proof of claim filed against Anthony
                 12      Thomas and Wendi Thomas. Attached to both the filed proof of claim and the Opposition
                 13      is a proposed stipulated judgement in the amount of $4,500,000 with interest to accrue at the
                 14      rate of 10% per annum from the date of entry of the judgement. A judgement has not been
                 15      entered. Anthony and Wendi Thomas still have time to object to the Kenmark filed proof of
                 16      claim.
                 17                Anthony and Wendi Thomas are agreeable to placing $4,500,000.00 in sales proceeds
                 18      into the trust account of the Law Offices of Alan R. Smith pending resolution of any dispute
                 19      surrounding the Kenmark claim.
                 20                DATED this 30th day of June, 2014.
                 21
                 22                                                                 LAW OFFICES OF ALAN R. SMITH
                 23
                 24                                                                 By:     /s/ Alan R. Smith
                 25                                                                    ALAN R. SMITH, ESQ.
                 26                                                                   Attorney for Debtor
                 27
                 28
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